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NEW JERSEY*#
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March 25, 2022

The Honorable Maryellen Noreika
J. Caleb Boggs Federal Building
844 N. King Street

Wilmington, DE 19801

Re: Corrected CBV, Inc. v. ChanBond, LLC, 1:21-cv-01456-MN

Dear Judge Noreika,

On behalf of proposed intervenors Gregory Collins and Kamal Mian, derivatively on behalf
of UnifiedOnline, Inc., we write to update the Court that we have held telephone discussions with
counsel for plaintiff/counter defendant CBV, Inc. and counsel for defendant/cross
claimant/counter claimant, Deirdre Leane, and intervener/cross claimant/counterclaimant IPNAV,
LLC. Due to scheduling conflicts, we have scheduled a teleconference with counsel for
defendant/cross defendant ChanBond, LLC on Monday, March 28, 2022 and respectfully request

until Tuesday, March 29, 2022 to file a Local Rule 7.1.1. Statement to our motion to intervene
[D.I. 34].

4 submitted,

Lz

Brian C. Crawford, DE Bar #4941

cc: Geoffrey Graham Grivner, Esq. (via electronic noticing)
Kody Macgyver Sparks, Esq. (via electronic noticing)
Stephen B. Brauerman, Esq. (via electronic noticing)
Ronald P. Gold, III, Esq. (via electronic noticing)
James Harry Stone Levine, Esq. (via electronic noticing)
Dylan M. Schmeyer, Esq. (via electronic noticing)
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Steve L. Rader, Esq. (via electronic noticing)
Jason R. Dilday, Esq. (via electronic noticing)
